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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

ROBERT J. STACKELBECK,

       Plaintiff,

v.                                                               Case No: 8:20-cv-2427-T-36JSS

RON DESANTIS,

       Defendant.
                                             /

                                           ORDER

       This cause comes before the Court upon the Report and Recommendation, filed by

Magistrate Judge Julie S. Sneed on October 21, 2020 (Doc. 7).                In the Report and

Recommendation, Magistrate Judge Sneed recommends that: (1) Petitioner’s Motion for Leave to

Proceed in Forma Pauperis (Dkt. 2) be denied without prejudice; (2) Petitioner’s Petition for Writ

of Mandamus (Dkt. 1) be dismissed without prejudice and with leave to file an amended petition

that complies with the Federal Rules of Civil Procedure within twenty (20) days of the date the

Report and Recommendation becomes final; and (3) Petitioner’s remaining motions be denied as

moot. Plaintiff was furnished a copy of the Report and Recommendation and was afforded the

opportunity to file objections pursuant to 28 U.S.C. § 636(b)(1). No such objections were filed.

       Upon consideration of the Report and Recommendation, and upon this Court's independent

examination of the file, it is determined that the Report and Recommendation should be adopted.

Accordingly, it is now

       ORDERED AND ADJUDGED:

       (1)     The Report and Recommendation of the Magistrate Judge (Doc. 7) is adopted,

               confirmed, and approved in all respects and is made a part of this Order for all

               purposes, including appellate review.
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       (2)    Petitioner’s Motion for Leave to Proceed in Forma Pauperis (Doc. 2) is DENIED

              without prejudice.

       (3)    Petitioner’s Petition for Writ of Mandamus (Doc. 1) is DISMISSED without

              prejudice. Petitioner is granted leave to file an amended petition within twenty

              (20) days of the date of this Order that complies with the Federal Rules of Civil

              Procedure. Failure to file an amended petition within the time provided will result

              in dismissal of this action without further notice.

       (4)    Petitioner’s Motion for Ex Parte Hearing (Doc. 6) is DENIED as moot

       DONE AND ORDERED at Tampa, Florida on November 9, 2020.




Copies to:
The Honorable Julie S. Sneed
Counsel of Record




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